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IN THE UNITED STATES DISTRICT CoURT 95 mr 17 ph 3. ?
FoR THE WESTERN DISTRICT oF TENNESSEE w `_ ' `5
WESTERN DIVISION (‘

 

 

UNITED STATES OF AMERICA,

 

Plaintiff, Case No.: 04-20237 D
v.
REGINALD MCWILLIAMS,
Defendant.
OR_DER

 

lt appearing to the Court that the Federal Bureau of Prisons, Federal Medical Center request
for an extension of time in Which to complete the examination of the above»named defendant is well-
taken,

IT lS THEREFORE ORDERED, ADJUDGED AND DECREED that the Federal Medical
Center is granted an extension of 45 days from the date of the defendant’S arrival at FMC Lexington

to complete the evaluation

,20()5.

/`//;n/M w

B NICE BOUIE DONALD
ITED STATES DISTRICT JUDGE

  
  

IT IS SO ORDERED this f 2 j% day ot`

 

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UNITED STATE DISTRIC COURT - WTERN D'S'TRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 47 in
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Honorable Bernice Donald
US DISTRICT COURT

